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Jeg ay21S eIUIBUIA Isa OYL
JOJEUIPIOOD diysiaqusaj\y

suBugq 9 IBID

Pon FE

‘ZL0z ‘ez Aveniqe4 ‘Aep siu} jeg ayejs elulBiiA JSOAA SUL JO JeaS pue pUeY ALU BAO UDAID

‘JeQ 91e1S BIUIBIIA ISSAA SUL YM Huipuejs poob ul Jequuaw aanoe ue AljUaLINd st!
‘Spsooel diysuequuall JNO 0} Bulpuoooe “IP jeg “4 AWeH pres ay} yeu} payed yey s! }

‘OS6) ‘AeW ul seg a}e}S eIUIB.IA

JSOAA SUL JO JOquIOW SAI}IOe Ue Se paso}siBas sem puke ‘Q86L ‘OZ AeW uo sjeaddy jo noo
sweidns eiulbiiA ISeAA eu} Aq Me] BoI}OeJd 0} peype sem ‘AA ‘LOJS@peYD Jo ‘uP ||eg
“4 AuieH ‘weg ayeys eluiBulA ISe/AA OU} JO SP1ODE1 BY} 0} Huipsoooe ‘yey} Ajlyad 0} SI SIUL

L6Z#CI SAM - “Ef 19a “4 AueH

Bulpue}]g POO JO aJedyIOD
YVd ALVLS VINIDYIA LSSM SHL

